Case 2:05-cr-20223-.]P|\/| Document 23 Filed 06/22/05 Page 1 of 2 Page|D 17

IN THE UNITED STATES DISTRICT COURT ’ OW;\“'

FOR THE WESTERN DISTRICT OF TENNESSEE wl gp F:H 3_ ng
WESTERN I)IVISION ~"r -~ ~~- r~

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UNITED STATES OF AMERICA
v.

JENNIFER TROTTER 05cr20223-02-Ml

 

ORDER ON ARRAIGNMENT

  

This cause came to be heard on 555 the United States Attomey
for this district appeared on behalf of the g ernment, an the defendant appeared in person and With

counsel: _
NAME j %A}(M-/ who is Retained/Appointed.
vVU’ "'" '

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.
All motions shall be filed within thirty (30) days from the date hereof unless, for good cause

shown to a District Judge, such period is extended

7/’[°& defendant, (not having e bond) (being ate prisoner) (being a federal
prisoner) (being held Without bon pursuant to BRA f 1984), is remanded to the custody

of the U.S. Marshal.
[__A /\ l § ?O/*\

UNITEE) sTArEs MA§'ISTIE`ET§ ]UDGE

The defendantl Who is not i:§:;ryy, may Stand on his present bond.

CHARGES: conspiracy to distribute controlled substance - 21:846
Attorney assigned to Case: D. I-Ienry

Age: 3d

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UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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167 N. l\/lain St.

Ste. 800

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Honorable .l on l\/lcCalla
US DISTRICT COURT

